UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
' CHARLOTTE DlVISION

§
v

 

CiviiAcrionNo.3;oicv423-MU ‘“1 C; C?_

-`" m

' 'U C;J

§§ *='-

BARNEY M. GRANT, ‘ <fn

Piaimirr, §§ §

inch ....

v_ coNsEN'r PROTECTIVE;; .~_-»
oRDER rs "`“

DUKE ENERGY CORP., f/k/a DUKE

POWER CO., and DUKE ENGINEERING
SERVICES, INC.,

Defendant.

`_/`_/\_/\_/\\_/`\\_/\-./\_/\_/\_/`_/\_/

 

Background Information

In their initial disclosures under Rule 26(a)(l) of` the Federal Rules ot` Civil Procedure,
defendants Duke Energy Corporation, f/k/a Duke Power Company, and Duke Engineering Services,
lnc. (collectively referenced as “Duke Energy” or the “Company”) identified plaintist Employee
Tirne Sheets for January l, 1999 through March 5, 2001 as documents that the Company may use
to support their claims or defenses The parties agree that these Employee Time Sheets may contain

confidential proprietary information, including the names of Duke Energy’ s customers, the business
operations and projects to which plaintiff was assigned, and the amount of time that was spent
working with any given business operation or on any given project The parties further agree and

acknowledge that the Company has a legitimate business interest in protecting the confidentiality

of the proprietary information described above.

Case 3:Ol-cV-OO428-GC|\/| Document 9 Filed 11/05/01 Page 1 of 7

..._..._..`....t_.,__....,,..,.,....,_..__._~ ¢,M,._._

Use of Conf“ldential lnformation and Materials

 

l. The confidential information shall be used only for the purpose of these proceedings

and shall not be disclosed to any person except the following:

(a) Counsel for any party, the legal associates, clerical or other support staff of such
counsel assisting in the preparation of this action, and the parties, to the extent necessary to prepare

for this litigation;

(b) Agents, representatives and employees of either party, as is necessary to prepare this

case for litigation;

(c) Subject to the provisions of Paragraph 2 below, independent experts (who are not a

party or an employee of a party) employed by counsel for the purpose of assisting in this action;

(d) A witness who is either the producing party or an employee of the producing party
or a former or current employee of the producing party, as is necessary to prepare this case for
litigation, and, the court reporter and courtroom personnel at any deposition, pretrial hearing, trial

or other proceedings held in connection with this action;

(e) Subj ect to the provisions of Paragraphs 3 and 4 below, any court, including this Court,

or appellate body Which has cause to consider any of the issues raised in this action;

-2_

Case 3:Ol-cV-OO428-GC|\/| Document 9 Filed 11/05/01 Page 2 of 7

(f) Jurors and prospective jurors;

(g) Or any other person or entity to whom this Court orders or allows disclosure after

notice and opportunity for hearing

Non-Disclosure of Conf`ldential Information

2. No person to whom confidential information is disclosed shall disclose such
confidential information to any person to whom disclosure is not authorized by the terms of this
Protective Order, or make any other disclosure of such confidential information for any purpose
whatsoever, commercial or otherwise ln addition to the other restrictions on disclosure contained
herein, the parties agree that no confidential information may be disclosed to any person (including
any consultant, expert or employee of any party) until such person has read and signed a copy of this
Order, thereby indicating his/her willingness to be bound by its provisions The disclosing party
shall have the obligation to maintain records identifying all such persons to whom information has

been disclosed

Information Filed with the Court

3. Any confidential document obtained during discovery which is filed with the Court
shall be filed in sealed envelopes or other appropriate sealed containers on which shall be endorsed
the title of this action, an indication of the nature of the contents of such sealed envelope or other
container, the word CONFIDENTIAL. The ultimate disposition of protected materials is subject to
a final order of Court upon the completion of litigation.

_3_

Case 3:Ol-cV-OO428-GC|\/| Document 9 Filed 11/05/01 Page 3 of 7

\~~W....____n~.-----~»~¢ 7 --

General Conditions

4. At the conclusion of this litigation, the parties will contact the Court to obtain any
confidential information in the Court's files so the parties may make appropriate disposition of all
confidential information furnished pursuant to the terms of this Order. At the conclusion of the
litigation, the parties agree to return any confidential information to the party providing the

confidential information except transcriptions of depositions taken in the course of this proceeding

5. This Protective Order shall not abrogate or diminish any contractual, statutory or other
legal obligation or right of any party or person with respect to the confidential information
Specifically, this Protective Order shall not require any party to notify or to obtain permission from
other parties before introducing materials designated confidential at trial or examining witnesses
about materials designated confidential during depositions or at trial, beyond the notice required by

the Federal Rules of Civil Procedure, local court rules or order of Court.

6. Nothing in the foregoing provisions of this Protective Order shall be deemed to
preclude any party from seeking and obtaining, on an appropriate showing, such additional
protection with respect to confidential information as that party may consider appropriate; nor shall
any party be precluded from claiming that any matter designated hereunder is not entitled to

protection, or is entitled to a more limited form of protection than designated

_4_

Case 3:Ol-cV-OO428-GC|\/| Document 9 Filed 11/05/01 Page 4 of 7

It is so stipulated

a%%wd@

W.Cline
C.SWtate Bar No. 19672
DONALDSON & BLACK, P.A.
208 West Wendover Avenue
Greensboro, NC 27401
Telephone: (336) 273-3812

Counsel for Plaintiff

Date: /0!2 § fog

\alr\ fli DUth€/ff'éé»

ngin]. Doyle,
N C. State Bar 1235

\nlétw

Ji,ll .Cox
N.c staieaarNO. 20145

C NSTANGY, BROOKS & SMITH, LLC
100 North Cherry Street, Snite 300
Winston-Salem, NC 27101

Telephone: (336) 721-1001

Counsel for Defendants

Date: IO"' 2 ‘;ij"@l _

Case 3:Ol-cV-OO428-GC|\/| Document 9 Filed 11/05/01 Page 5 of 7

n is 30 0RDERED, this the£Xay of Aj§g;, 2001

222 222

Uiiited States District Court

Case 3:Ol-cV-OO428-GC|\/| Document 9 Filed 11/05/01 Page 6 of 7

pab
United States District Court
for the
Western District of North Carolina
NOvember 5, 2001

* * MAILING CERTIFICATE OF CLERK * *

R@: 3:01-CV-00428

True and Correct copies of the attached were mailed by the clerk to the
following:

Todd W. Cline, Esq.
Donaldeon & Black, P.A.
208 WeSt Wendover
Greensboro, NC 27401

JOhn J. DOyle Jr., ESq.
Constangy, Brooke & Smith, LLC
100 North Cherry St.

Suite 300 Century Plaza
WinStOn-Salem, NC 27101

Jill S. Cox, Eeq.

Conetangy, Brooks & Smith, LLC
100 North Cherry St.

Suite 300 Century Plaza
WinetOn-Selem, NC 27101

cC:

Judge

Magistrate Judge
U.S. Marshal
Probation

U.S. Attorney
Atty. for Deft.
Defendant

Warden

Bureau Of Prieons
Court Reporter
Courtroom Deputy
Orig-Security
Bankrnptcy Clerk'S Ofc.
Other

,_`,_.._,__,_.._,___,__,__,_`,_`,_._,_.`,__,_._,_._
-_¢-_/-_¢-_d-_d-_r-_d-_»-_#-_z--_r-._d--._¢-_r

 

Frenk_ _ Clerk
BY: ’ ___,`\

‘Deputy/Qferk

 

Case 3:Ol-cV-OO428-GC|\/| Document 9 Filed 11/05/01 Page 7 of 7

 

